


404 ERROR - N.Y. State Courts























































Skip to Main Content

   
    

 
 
 HOME  
| 
 Page Navigation  




MAIN MENU &gt;  HOME THE COURTS E-COURTS REPRESENTING YOURSELF THE LAW JURORS JUDGES LEGAL PROFESSION TOPICS A to Z 



 
     
    
           
          
            
            
               
               
               
               
               
               
               
               
               
               
          
        


  
  


  
  
 
    
      
 404 ERROR - File Not Found    
     
  
  
  
    
       Sorry, but the page you requested
cannot be found.
        
      
             
        &nbsp;
        Please remember to update your Bookmarks/Favorites.
        &nbsp;
        Please use the search box or one of the  menu items at the top of this page to find your information.
        We apologize for any inconvenience this may have caused you.
        &nbsp;
        
        &nbsp;
        &nbsp;
      
    
    
     
    
    
      

  &nbsp;

 
 
 

 
       
    
  
   Web page updated: January 2, 2015  &nbsp; | Copyright | Privacy Policy | Accessibility | Contact Us  
    




